          Case 2:11-cr-00490-DAD Document 60 Filed 03/20/12 Page 1 of 2


 1   DINA L. SANTOS
     A Professional Law Corporation
 2   State Bar No. 204200
     428 J Street, Suite 359
 3   Sacramento, CA 95814
     Telephone: (916) 447-0160
 4   Facsimile: (916) 447-2988
 5
     Attorney for Defendant
 6
 7
 8
                          IN THE UNITED STATES DISTRICT COURT
 9
                   IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12
     UNITED STATES OF AMERICA,                     )       CRS 11-490 JAM
13                                                 )
                    Plaintiff,                     )
14                                                 )       ORDER FOR WAIVER OF
                                                           DEFENDANT’S
15   v.                               )                    PRESENCE
                                      )
16   MARINA PUKHKAN                   )
                                      )
17              Defendant             )
                                      )
18   ________________________________ )
19
20            The defendant, MARINA PUKHKAN, hereby waives her right to be present in open
21   court upon the hearing of any motion or other proceeding in this cause, including, but not limited
22   to, when the case is ordered set for trial, when a continuance is ordered, and when any other
23   action is taken by the court before or after trial, except upon arraignment, plea, impanelment of a
24   jury and imposition of sentence. Defendant hereby request the court to proceed during every
25   absence of her which the court may permit pursuant to this waiver; agrees that her interest will be
26   deemed represented at all times by the presence of her attorney, the same as if the defendant were
27   personally present; and further agrees to be present in court ready for trial any day and hour the
28   court may fix in her absence.
       Case 2:11-cr-00490-DAD Document 60 Filed 03/20/12 Page 2 of 2


 1            Defendant further acknowledges that she has been informed of her rights under Title 18
 2   U.S.C. Section 3161 - 3174 (Speedy Trial Act), and has authorized her attorney to set times and
 3   delays under the provisions of that Act without defendant being present.
 4
     Dated: March 17, 2012                                /s/ Marina Pukhkan
 5                                                        MARINA PUKHKAN
                                                          Client
 6
     Dated: March 17, 2012                                /s/ Dina L. Santos
 7                                                        DINA L. SANTOS
                                                          Attorney for Marina Pukhkan
 8
 9
10
                                                  ORDER
11
12            It is so ordered.
13
     Dated:          March 19, 2012                       /s/ John A. Mendez
14                                                        Hon. John. A. Mendez
                                                          District Court Judge
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                    -2-
